   Case 04-41297-RG            Doc 269      Filed 05/18/23 Entered 05/18/23 11:29:16               Desc Main
                                           Document      Page 1 of 15
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)



Eric R. Perkins, Chapter 7 Trustee
354 Eisenhower Parkway, Plaza 2
Livingston, NJ 07039
Tel: 973-422-1100
E-mail: eperkins@becker.legal



                                                                Case No.:       04-41297 (RG)
In Re:
                                                                Chapter:        __7
GLOBAL TRADING INVESTMENTS, LLC,
                                                                Judge:          Rosemary Gambardella

                                     DEBTOR.


                                 NOTICE DEPOSITING UNCLAIMED FUNDS
                                    PURSUANT TO D.N.J. LBR 3011-1(a)
    _ERIC R. PERKINS _, trustee in the above captioned matter states that the entire amount in the trustee’s
    account has been disbursed and that the following funds remain unclaimed. The undersigned will
    immediately forward a check to the court in the amount of _$253.37__, payable to the Clerk, United
    States Bankruptcy Court. The parties entitled to said funds are listed below together with their last known
    address.


                                  PAYEE                                                  AMOUNT
                             NAME AND ADDRESS


     Louis Dragonetti                                                           $2.21

     221 Brook Street

     Paramus, NJ 07652-1809


     Hanaa Ibrahim                                                              $3.68

     109 Golden Lane

     Hazlet, NJ 07730
Case 04-41297-RG           Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                     Document      Page 2 of 15
 Frances M. Kielar                                               $4.41

 1377 Well Road

 Bridgewater, NJ 08807-1426


                               PAYEE                                     AMOUNT
                          NAME AND ADDRESS

 Rebecca Brown                                                   $1.47

 1365 South Clayton Street

 Denver, CO 80210


 Scott Picconi                                                   $0.91

 12 Biscayne Street

 Toms River, NJ 08757


 Ronald and Johanna Kalemba                                      $3.68

 292 Curtis Point Drive

 Mantoloking, NJ 08738


 James K. Medeiros                                               $3.68

 331 Arcadia Court

 Fort Wayne, IN 46807


 Edward Fallas                                                   $3.68

 1873 East 19th Street 2nd Floor

 Brooklyn, NY 11229


 Andrew Orlov                                                    $1.34

 31 South Syracuse Drive

 Cherry Hill, NJ 08034-1237




                                                2
Case 04-41297-RG        Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                  Document      Page 3 of 15
 Joanne Zemsky                                                $3.67

 33 Jacobson Street

 Sayerville, NJ 08872-1024


 Justin D. Shearer                                            $1.10

 515 Admirals Circle

 Pine Beach, NJ 0874


 Thomas Donovan                                               $3.67

 229 Eagleswood Avenue

 Lanoka Harbor, NJ 08734


 Barbara Herman                                               $3.68

 214 Hamilton Boulevard

 Piscataway, NJ 08854


 Ryan Schaefer                                                $0.73

 148 Seaspray Road

 Manahawkin, NJ 08050-1345


 Christopher Trotta                                           $3.31

 Post Office Box 335

 Manahawkin, NJ 08050-0335


 Glenn Haken                                                  $2.28

 49 Crest Avenue

 Manahawkin, NJ 08050


 Alexander Hurtado                                            $3.67

 56 Moonachie Road

 Moonachie, NJ 07074




                                             3
Case 04-41297-RG           Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                     Document      Page 4 of 15
 Scott Suydam                                                    $3.68

 252 North 1st Street

 Surf City, NJ 08008


 OBS Leasing Co., Inc                                            $3.16

 Attn: Michael Parasolle

 1 Chapin Road

 Pine Brook, NJ 07058


 Carly Manger                                                    $3.68

 c/o Ralph Manger

 43 Dorrance Drive

 Bayville, NJ 08721


 Walter C. Foster                                                $2.20

 2595 Hooper Avenue

 Brick, NJ 08723


 Kareem A. Salaam                                                $3.68

 56 Stockton Place

 East Orange, NJ 07017


 Judith Doyle                                                    $3.68

 56 Stockton Place

 East Orange, NJ 07017


 Thomas Jon Rikeman                                              $3.38

 68 Bonita Road

 Waretown, NJ 08758




                                                4
Case 04-41297-RG           Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                     Document      Page 5 of 15
 Michael J. Grigo                                                $3.53

 809 Alix Street

 New Orleans, LA 70114-1108


 Michael and Maureen Geri                                        $1.47

 674 Central Avenue

 Franklinville, NJ 08322


 Estate of Nadia Nesnick                                         $3.68

 c/o Jeanne M. Palmenteri, Trustee

 156-32 92nd Street

 Howard Beach, NY 11414


 Anthony DiSabatino                                              $3.13

 c/o Ralph Manger

 43 Dorrance Drive Bayville, NJ 08721


 James D. Gragg                                                  $1.84

 1109 Wynford Commons

 Marietta, GA 30064


 Benjamin Goldman                                                $2.39

 716 North St. Lucas Street

 Allentown, PA 18104-4031


 William P. Zobie                                                $1.84

 115 Ridgeway Street

 Barnegat, NJ 08005


 Frank and Debra Fox                                             $3.68

 1163 Steamer Avenue

 Manahawkin, NJ 08050


                                                5
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document      Page 6 of 15
 John and Melinda D'Addario                                     $2.21

 652 Compass Avenue

 Beachwood, NJ 08722


 Capital One Bank                                               $0.50

 Post Office Box 85167

 Richmond, VA 23285


 Donald Ruane                                                   $3.68

 1519 Ridgeland Court

 Lilburn, GA 30047


 Philip Fucetola                                                $3.68

 359 Route 9

 Waretown, NJ 08758


 New Jersey Natural Gas                                         $0.60

 1414 Wycoff Road

 Post Office Box 1468

 Wall, NJ 07719


 Elsie Ramsey                                                   $2.21

 3 Notts Court

 Toms River, NJ 08757


 Ashley Hanna Marie Rikeman and Mary Kay Erickson               $0.37

 c/o Anna Trotta

 117 Mary Bell Road

 Manahawkin, NJ 08050-7827




                                               6
Case 04-41297-RG        Doc 269     Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                   Document      Page 7 of 15
 Shahira Enea                                                  $3.68

 16 Cedar Court

 Marlboro, NJ 07746


 Tammi Fricks                                                  $2.24

 97 Maple Street

 Beachwood, NJ 08722


 David Rubin                                                   $3.68

 502 Jackson Avenue

 Manville, NJ 08835-1926


 Joel Picone                                                   $1.47

 47 Pupek Road

 South Amboy, NJ 08879-1328


 Sylvia Parliman & Susan Picconi                               $3.67

 12 Biscayne Street

 Toms River, NJ 08757-3727


 Victoria Horvath                                              $0.37

 c/o Ralph Manger

 43 Dorrance Drive

 Bayville, NJ 08721


 Alexis Seiferling                                             $3.68

 97 Hilltop Drive

 Brick, NJ 08724


 Michael Pritchard                                             $3.68

 1640 Farragut Avenue

 Toms River, NJ 08753


                                              7
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document      Page 8 of 15
 Feliciano Tineo                                                $4.19

 60 Stoke Street

 Lodi, NJ 07644


 Richard M. Knapp                                               3.68

 14 Pilgrim Drive

 Clifton, NJ 07013


 Frank Pellicani                                                $0.74

 71 Under Rock Rd.

 Sparta, NJ 07871


 Rich Standt                                                    $3.68

 441 East Main Street

 Manasquan, NJ 08736


 Joseph or Marsel Salama                                        $3.68

 35 Kennedy Way

 Keansburg, NJ 07734


 Frederick F. Sheeler                                           $0.74

 587 Ayres Avenue

 North Plainfield, NJ 07063-1832


 Patricia L. Clark                                              $3.68

 1825 Washington Avenue

 Ortley Beach, NJ 08751


 Capital One Bank                                               $0.51

 Post Office Box 85167

 Richmond, VA 23285




                                               8
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document      Page 9 of 15
 Armand Grez                                                    $1.84

 6D Hickory Court

 Brielle, NJ 08730


 Bryan T. Voss                                                  $1.47

 19 Kent Avenue

 Maple Shade, NJ 08052


 Daniel Pasquariello                                            $4.38

 341 Preakness Avenue

 Apartment #8

 Paterson, NJ 07502-1748


 Kristi Voss                                                    $1.47

 273 Grand Central Parkway

 Bayville, NJ 08721


 Household Receivable Acquisition Corp. II                      $0.48

 Post Office Box 98724

 Las Vegas, NV 89193


 Raymond Chickanis, Jr.                                         $2.21

 Post Office Box 363

 Lake Hopatcong, NJ 07849


 Robert Vandermeiren                                            $3.68

 148 Sespray Road

 Manahawkin, NJ 08050


 Alan Rue, Jr.                                                  $0.92

 3 Rondell Lane

 Laurence Harbor, NJ 08859


                                               9
Case 04-41297-RG        Doc 269        Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                      Document     Page 10 of 15
 Michael Tarantino                                                $3.68

 509 Reynolds Avenue

 Bronx, NY 10465


 Kevin Crown                                                      $0.74

 c/o Maureen Crown

 60 Barnida Drive East Hanover, NJ 07936


 Andrew and Barbara Maglione                                      $2.21

 69 Elderberry Lane

 Toms River, NJ 08753


 Vincent Lioudis                                                  $1.10

 c/o Susan Lioudis

 7 Village Drive Barnegat, NJ 08005


 Tammie Mensch                                                    $1.47

 60 Ironwood Court

 Middletown, NJ 07748


 Arthur Paradise                                                  $3.68

 67 Woodbine Circle

 New Providence, NJ 07974


 Allison M. Kreitz                                                $3.60

 111 Stillwater Road

 Barnegat, NJ 08005


 Garrett Kelleher                                                 $1.47

 55 Jamie Court

 Suffern, NY 10901




                                                 10
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document     Page 11 of 15
 World Financial Network National Bank Limited                  $0.19

 c/o Weinstein & Riley, P.S.

 2101 4th Avenue, Suite 900

 Seattle, WA 98121


 Capital One Bank                                               $2.32

 Post Office Box 85167

 Richmond, VA 23285


 Dr. Henry Karnowski                                            $3.89

 710 Laley Road

 Forked River, NJ 08721-1402


 Andrew Lockwood                                                $3.68

 4022 Bayberry Court

 Monmouth Junction, NJ 08852


 Joshua Hemingway                                               $2.94

 8400 Lindbergh Boulevard Apartment 1207

 Philadelphia, PA 19153


 Thomas Donovan                                                 $3.68

 229 Eagleswood Avenue

 Lanoka Harbor, NJ 08734


 Geraldine Hammett                                              $1.46

 107 Canterbury Lane

 Toms River, NJ 08757-6578




                                                 11
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document     Page 12 of 15
 Brandon T. Voss                                                $0.74

 c/o Kristi Voss

 273 Grand Central Parkway

 Bayville, NJ 08721


 Emily Lioudis                                                  $1.47

 c/o Susan Lioudis

 7 Village Drive

 Barnegat, NJ 08005


 Jacob L. Jones                                                 $3.68

 284 North 5th Avenue

 Long Branch, NJ 07740-6144


 Michael Adesso                                                 $0.74

 1833 3rd Avenue

 Toms River, NJ 08757-3508


 Brenda and Thomas Igoe                                         $0.74

 100 Mount Lebanon Road

 Glen Gardner, NJ 08826


 Bennie Smith                                                   $3.68

 Post Offfice Box 691

 Dover, DE 19903


 Douglas Basile                                                 $1.46

 57 Gimble Place

 Ocean, NJ 07712-2565




                                               12
Case 04-41297-RG           Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                     Document     Page 13 of 15
 Leonarda LaMantia                                               $3.68

 3B Garden Terrace

 North Arlington, NJ 07031


 Howard Gunter                                                   $3.68

 27 Powell Avenue

 Rochelle Park, NJ 07662


 John Crown                                                      $0.74

 c/o Maureen Crown

 60 Barnida Drive

 East Hanover, NJ 07936


 Louis Spinelli                                                  $2.20

 77 Roanoke Street

 Woodbridge, NJ 07095


 George M. Bowers                                                $1.47

 609 Beacon Avenue

 Beachwood, NJ 08722


 Susan A. Siana                                                  $1.47

 701 Bermuda Drive

 Neshanic Station, NJ 08853


 Luis Veloz                                                      $3.67

 183 East 2nd Street Apartment 1A

 New York, NY 10009-8087




                                                13
Case 04-41297-RG          Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                    Document     Page 14 of 15
 Cole Manger                                                    $3.68

 c/o Ralph Manger

 43 Dorrance Drive

 Bayville, NJ 08721


 Georgia A. Kearney                                             $2.21

 22 Zachary Way

 Mount Arlington, NJ 07856


 Michael and Susan Lioudis                                      $1.10

 7 Village Drive

 Barnegat, NJ 08005


 Patricia A. Malley                                             $3.68

 1615 Grandiflora Drive

 Leland, NC 28451


 Mr. and Mrs. Mark Kastner                                      $2.21

 1470 Lucas Avenue

 Cottekill, NY 12419


 Bryan and Hester Swint                                         $3.68

 8 Rocky Mountain Boulevard

 Brick, NJ 08724


 Silverton Chiropractic Services                                $0.14

 Stella Medical Center

 10 Kettle Creek Road

 Toms River, NJ 08753-1736




                                               14
Case 04-41297-RG       Doc 269    Filed 05/18/23 Entered 05/18/23 11:29:16   Desc Main
                                 Document     Page 15 of 15
 Gerald P. Ruane                                             $3.68

 11 Rushmore Drive

 Brick, NJ 08723


 Thomas Schaefer                                             $1.46

 148 Seaspray Road

 Manahawken, NJ 08050-1345


 Alexander Horvath                                           $0.74

 c/o Joann Horvath 17040 Arkansas Court

 Lewes, DE 19958




       5/18/2023
Date: ___________________                              /s/Eric R. Perkins
                                                      ______________________________
                                                      Trustee


                                                                                rev.8/1/15




                                            15
